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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


___________________________________
                                    )
                                    )
KAREN READ,                         )
            Petitioner              )
                                    )
v.                                  )                               No. 25-CV-10399-FDS
                                    )
NORFOLK COUNTY SUPERIOR             )
COURT, MASSACHUSETTS                )
ATTORNEY GENERAL,                   )
            Respondents             )
                                    )
___________________________________ )

               MOTION FOR ADMISSION TO APPEAR PRO HAC VICE
                           FOR ALAN JACKSON

              I, Martin G. Weinberg, a member of the bar of this Court, and counsel for

Petitioner, Karen Read, hereby move pursuant to Rule 83.5.3 of the Local Rules of the United

States District Court of Massachusetts, that Alan Jackson, an attorney from the State of

California, be admitted to appear and practice in this Court for the purpose of representing

Karen Read as my co-counsel in the above-captioned matter.

       I have been advised that Mr. Jackson is admitted to practice, and a member in good

standing, in the State of California. A Certificate of Good Standing can be provided if

necessary.

       I have been advised that Mr. Jackson is not currently suspended or disbarred in any

jurisdiction, and that there are no disciplinary proceedings pending against Mr. Jackson in any

jurisdiction. I have further been advised that Mr. Jackson has reviewed and agrees to comply

with the Local Rules of this Court.



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       Mr. Jackson’s Affirmation is attached hereto as Exhibit 1.

                                                     Respectfully Submitted,

                                                       /s/ Martin G. Weinberg
                                                       Martin G. Weinberg, Esq.
                                                       Mass. Bar No. 519480
                                                       20 Park Plaza, Suite 1000
                                                       Boston, MA 02116
                                                       (617) 227-3700
                                                       owlmgw@att.net

Dated: February 24, 2025




                               CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, February 24, 2025, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.
                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg, Esq.




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